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1    Daniel G. Shay (SBN 250548)
     DanielShay@TCPAFDCPA.com
2
     LAW OFFICE OF DANIEL G. SHAY
3    409 Camino Del Rio South, Ste 101B
     San Diego, CA 92108
4
     Telephone: (619) 222-7429
5    Facsimile: (866) 431-3292
6
     Attorney for Plaintiff
7    David Schroeder
8                                UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
10
11                                           )
12   DAVID SCHROEDER,                        )       CASE NO. '16CV2987 BEN WVG
                                             )
13                  Plaintiff,               )       COMPLAINT FOR DAMAGES FOR
14                                           )       VIOLATIONS OF:
                                             )
15   vs.                                     )       THE FAIR CREDIT REPORTING
16                                           )       ACT
                                             )
17                                           )       THE CONSUMER CREDIT
18                                           )       REPORTING AGENCIES ACT
     EQUIFAX INFORMATION                     )
19   SERVICES, LLC, CAPITAL ONE,             )       THE ROSENTHAL FAIR DEBT
20   N.A. & KOHL’S DEPARTMENT                )       COLLECTION PRACTICES ACT
     STORES, INC.,                           )
21                                           )       JURY TRIAL DEMANDED
22                  Defendants.              )
                                             )
23
24
25
26
27
28

                                                 1
     Complaint for Damages
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1                                           INTRODUCTION
2
     1.     David Schroeder (“Plaintiff”) brings this action for damages and any other
3
            available legal or equitable remedies, resulting from the illegal actions Equifax
4
            Information Services, LLC, Capital One, N.A., and Kohl’s Department Stores,
5
            Inc. (collectively “Defendants”) for violations of federal and state credit
6
            reporting and debt collection laws. Plaintiff alleges as follows upon personal
7
            knowledge as to himself and his own acts and experiences, and, as to all other
8
            matters, upon information and belief, including investigation conducted by his
9
            attorney.
10
     2.     This action arises out of violations of the Federal Fair Credit Reporting Act, 15
11
            U.S.C. § 1681 et seq (“FCRA”), the California Consumer Credit Reporting Act,
12
            Cal. Civ. Code § 1785.1 et seq (“CCRAA”), and the California Rosenthal Fair
13
            Debt Collection Practices Act, Cal. Civ. Code § 1788 et seq (“RFDCPA”).
14
            While many violations are described below with specificity, this Complaint
15
            alleges violations of the statutes cited in their entirety.
16
     3.     The violations committed by Defendants were knowing, willful and intentional.
17
            Defendants did not maintain procedures reasonably adapted to avoid any such
18
            violations.
19
     4.     Unless otherwise indicated, the use of Defendants’ names in this Complaint
20
            includes all agents, employees, officers, members, directors, heirs, successors,
21
            assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
22
            Defendants named.
23
                                      JURISDICTION AND VENUE
24
     5.     Original subject matter jurisdiction is valid in U.S. District Court for violations
25
            of the FCRA pursuant to 28 U.S.C. § 1331.
26
     6.     Supplemental jurisdiction exists for violations of the CCRAA and RFDCPA
27
            pursuant to 28 U.S.C. § 1367(a).
28

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1    7.     Venue is proper in U.S. District Court, Southern District of California, pursuant
2           to 28 U.S.C. § 1391(b)(c) and § 1441(a) because Defendants are deemed to
3           reside in any judicial district in which they are subject to personal jurisdiction at
4           the time the action is commenced, and because Defendants’ contacts with this
5           District are sufficient to subject them to personal jurisdiction.
6    8.     Venue is also proper in this District under 28 U.S.C. § 1391(b) because
7           Defendants transact business here and because Plaintiff has resided in this
8           District at all times relevant to these claims such that a substantial part of the
9           events giving rise to Plaintiff’s causes of action against Defendants occurred
10          within this judicial district.
11                                     PARTIES & DEFINITIONS
12
     9.     Plaintiff is, and at all times mentioned herein a natural person, individual citizen
13
            and resident of the State of California, County of San Diego, in this judicial
14
            district. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1681a(c) of the
15
            FCRA and Cal. Civ. Code § 1785.3(b) of the CCRAA. Plaintiff is also a
16
            “person” under Cal. Civ. Code § 1788.2(g) and a “debtor” under Cal. Civ. Code
17
            § 1788.2(h) of the RFDCPA.
18
     10.    Plaintiff is informed and believes, and thereon alleges, that Equifax Information
19
            Services, LLC (“Equifax”) is, and at all times mentioned herein was, a limited
20
            liability company registered in Georgia with its principal place of business
21
            located in Georgia. Plaintiff alleges that at all times relevant herein Equifax
22
            conducted business in the State of California, in the County of San Diego,
23
            within this judicial district.
24
     11.    Plaintiff is informed and believes, and thereon alleges, that Capital One, N.A.
25
            (“Capital One”) is, and at all times mentioned herein was, a national bank with
26
            its principal place of business located in Virginia. Plaintiff alleges that at all
27
            times relevant herein Capital One conducted business in the State of California,
28
            in the County of San Diego, within this judicial district.
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1    12.    Plaintiff is informed and believes, and thereon alleges, that Kohl’s Department
2           Stores, Inc. (“Kohl’s”) is, and at all times mentioned herein was, a corporation
3           registered in Delaware with its principal place of business located in Wisconsin.
4           Plaintiff alleges that at all times relevant herein Kohl’s conducted business in the
5           State of California, in the County of San Diego, within this judicial district.
6    13.    Because Plaintiff is natural person allegedly obligated to pay money arising
7           from what Plaintiff is informed and believes was a consumer credit transaction,
8           the money allegedly owed was a “consumer debt” within the meaning of Cal.
9           Civ. Code § 1788.2(f) of the RFDCPA.
10   14.    The causes of action herein pertain to Plaintiff’s “consumer credit reports”, as
11          defined by 15 U.S.C. § 1681a(d)(1) of the FCRA and Cal. Civ. Code § 1785.3(c)
12          of the CCRAA, in that inaccurate misrepresentations of Plaintiff’s information
13          were made via written, oral, or other communication of information by a
14          consumer credit reporting agency, which is used or is expected to be used, or
15          collected in whole or in part, for the purpose of serving as a factor in
16          establishing Plaintiff’s eligibility for, among other things, credit to be used
17          primarily for personal, family, or household purposes, and employment
18          purposes.
19   15.    Defendants are each a partnership, corporation, association, or other entity, and
20          are therefore each is a “person” as defined by Calif. Civ. Code § 1785.3(j) of the
21          CCRAA.
22                           FACTUAL ALLEGATIONS AND ARGUMENTS
23
                   CAPITAL ONE AND KOHL’S REPORT PLAINTIFF AS DECEASED
24                  A DISPUTE WAS FILED AND EQUIFAX DID NOT CORRECT
25
     16.    From 2006 to 2015, Plaintiff incurred a consumer debt to Capital One and
26
            Kohl’s for items purchased with Plaintiff’s Kohl’s Capital One credit card. The
27
            debt was incurred primarily for personal, family, and household purposes.
28
     ///
                                                  4
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1    17.    On April 25, 2016, Equifax mailed Plaintiff his credit report in which Capital
2           One and Kohl’s furnished information to Equifax that Plaintiff was “Deceased”.
3    18.    On July 13, 2016, Plaintiff filed a formal Dispute with Equifax regarding the
4           representation on Plaintiff’s credit report that Plaintiff was “Deceased”.
5    19.    Equifax completed the investigation of that Dispute without any significant
6           updating.        On July 19, 2016, Equifax sent Plaintiff the results of the
7           investigation request and any revisions to Plaintiff’s credit file.          In this
8           investigation, Equifax verified that Plaintiff was “Deceased” in line with the
9           information furnished by Capital One and Kohl’s.
10   20.    This entry is completely inaccurate. Equifax was advised of this inaccuracy and
11          did nothing to correct it. Plaintiff is in fact alive and well.
12   21.    Defendants did not confirm Plaintiff’s death through public records prior to
13          furnishing and reporting information on his “death”. Birth and death records are
14          readily available to the public on the San Diego County Recorder website.
15   22.    Defendants failed to conduct reasonable investigations into the accuracy of the
16          information being disputed by Plaintiff, failed to correct or delete the
17          information, failed to consider all relevant information supplied by Plaintiff in
18          his written disputes, and failed to employ and follow reasonable procedures to
19          prevent such inaccurate reporting or ensure maximum possible accuracy.
20   23.    Equifax Information Services deals in information. All it had to do was check
21          the website after the dispute to confirm that Plaintiff is alive.
22   24.    For comparison, Capital One and Kohl’s also furnished information that
23          Plaintiff was deceased to TransUnion Corporation (“TransUnion”) which was
24          reflected in his TransUnion credit report. Plaintiff filed a formal Dispute with
25          TransUnion and TransUnion corrected the inaccuracy and deleted the erroneous
26          information.
27   ///
28   ///

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1    25.    The false negative furnishing and reporting of information caused actual damage
2           to Plaintiff and his credit which in this day and age is practically priceless.
3           Plaintiff recently applied for credit cards and was denied based on Equifax’s
4           inaccurate credit report listing Plaintiff as “Deceased”. Target denied Plaintiff’s
5           application for a credit card “because the Social Security number listed on the
6           application appears to belong to a deceased individual”.              Target used
7           information from Equifax in order to arrive at this conclusion. Capital One also
8           denied Plaintiff’s application for a credit card saying “Based on [his] credit
9           report from Equifax, applicant is reported as deceased”.
10   26.    Plaintiff has spent a large amount of time and effort in attempt to ameliorate the
11          effects of the inaccurately reported death on Plaintiff’s Equifax credit report.
12   27.    At all times during the aforementioned actions, there was in full force and effect
13          the following obligations pertaining to Capital One and Kohl’s, pursuant 15
14          U.S.C. § 1681s-2(a)(1)(A) of the FCRA:
15                  (A) A person shall not furnish any information relating to a
                    consumer to any consumer reporting agency if the person
16
                    knows or has reasonable cause to believe that the
17                  information is inaccurate.
18
     28.    At all times during the aforementioned actions, there was in full force and effect
19
            the following obligations pertaining to Capital One and Kohl’s, pursuant 15
20
            U.S.C. § 1681s-2(a)(2)(A)&(B) of the FCRA:
21
            A person who
22
                    (A) regularly and in the ordinary course of business
23                  furnishes information to one or more consumer reporting
                    agencies about the person’s transactions or experiences with
24
                    any consumer; and
25                  (B) has furnished to a consumer reporting agency
                    information that the person determines is not complete or
26
                    accurate, shall promptly notify the consumer reporting
27                  agency of that determination and provide to the agency any
28                  corrections to that information, or any additional
                    information, that is necessary to make the information
                                                  6
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1                   provided by the person to the agency complete and accurate,
                    and shall not thereafter furnish to the agency any of the
2
                    information that remains not complete or accurate.
3
     29.    At all times during the aforementioned actions, there was in full force and effect
4
            the following obligations pertaining to Capital One and Kohl’s, pursuant 15
5
            U.S.C. § 1681s-2(b)(1) of the FCRA:
6
                    After receiving notice pursuant to section 1681i(a)(2) of this
7
                    title of a dispute with regard to the completeness or accuracy
8                   of any information provided by a person to a consumer
                    reporting agency, the person shall—
9
10                  (A) conduct an investigation with respect to the disputed
                    information;
11
                    (B) review all relevant information provided by the
12                  consumer reporting agency pursuant to section 1681i(a)(2)
13                  of this title;
                    (C) report the results of the investigation to the consumer
14                  reporting agency;
15                  (D) if the investigation finds that the information is
                    incomplete or inaccurate, report those results to all other
16                  consumer reporting agencies to which the person furnished
17                  the information and that compile and maintain files on
                    consumers on a nationwide basis; and
18                  (E) if an item of information disputed by a consumer is
19                  found to be inaccurate or incomplete or cannot be verified
                    after any reinvestigation under paragraph (1), for purposes
20                  of reporting to a consumer reporting agency only, as
21                  appropriate, based on the results of the reinvestigation
                    promptly—
22                         (i) modify that item of information;
23                         (ii) delete that item of information; or
                           (iii) permanently block the reporting of that item of
24                         information.
25
     30.    At all times during the aforementioned actions, there was in full force and effect
26
            the following obligations pertaining to Capital One and Kohl’s, pursuant to 15
27
            U.S.C. §§ 1692e as required by Cal. Civ. Code § 1788.17:
28

                                                  7
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1                   A debt collector may not use any false, deceptive, or
                    misleading representation or means in connection with the
2
                    collection of any debt.
3
                   EQUIFAX FAILED TO CORRECT PLAINTIFF’S CREDIT REPORT
4
                                     FOLLOWING THE DISPUTE
5
     31.    At all times during the aforementioned actions, there was in full force and effect
6
            the following obligation pertaining to Equifax, pursuant to 15 U.S.C. §
7
            1681i(a)(1)(A), & 1681i(a)(5)(A) of the FCRA:
8
                    (a)(1)(A) In general. Subject to subsection (f), if the
9
                    completeness or accuracy of any item of information
10                  contained in a consumer's file at a consumer reporting
                    agency is disputed by the consumer and the consumer
11
                    notifies the agency directly, or indirectly through a reseller,
12                  of such dispute, the agency shall, free of charge, conduct a
                    reasonable reinvestigation to determine whether the disputed
13
                    information is inaccurate and record the current status of the
14                  disputed information, or delete the item from the file in
15                  accordance with paragraph (5), before the end of the 30-day
                    period beginning on the date on which the agency receives
16                  the notice of the dispute from the consumer or reseller.
17
                    (a)(5)(A) In general. If, after any reinvestigation under
18                  paragraph (1) of any information disputed by a consumer, an
19                  item of the information is found to be inaccurate or
                    incomplete or cannot be verified, the consumer reporting
20                  agency shall—
21
                    (i) promptly delete that item of information from the file of
22                  the consumer, or modify that item of information, as
23                  appropriate, based on the results of the reinvestigation; and

24   32.    At all times during the aforementioned actions, there was in full force and effect
25          the following obligation pertaining to Equifax, pursuant to 15 U.S.C. §
26          1681e(a)&(b) of the FCRA:
27                  (a) Identity and purposes of credit users. Every consumer
28                  reporting agency shall maintain reasonable procedures
                    designed to avoid violations of section 605 [15 USC §
                                                  8
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1                   1681c] and to limit the furnishing of consumer reports to the
                    purposes listed under section 604 [15 USC § 1681b]. These
2
                    procedures shall require that prospective users of the
3                   information identify themselves, certify the purposes for
                    which the information is sought, and certify that the
4
                    information will be used for no other purpose. Every
5                   consumer reporting agency shall make a reasonable effort to
                    verify the identity of a new prospective user and the uses
6
                    certified by such prospective user prior to furnishing such
7                   user a consumer report. No consumer reporting agency may
                    furnish a consumer report to any person if it has reasonable
8
                    grounds for believing that the consumer report will not be
9                   used for a purpose listed in section 604 [15 USC § 1681b].
10
                    (b) Accuracy of report. Whenever a consumer reporting
11                  agency prepares a consumer report it shall follow reasonable
12                  procedures to assure maximum possible accuracy of the
                    information concerning the individual about whom the
13                  report relates.
14
            ALL DEFENDANTS INCORRECTLY REPORT THAT PLAINTIFF IS DECEASED
15
                                     FOLLOWING THE DISPUTE
16
     33.    At all times during the aforementioned actions, there was in full force and effect
17
            the following obligations pertaining to Defendants, pursuant to Cal. Civ. Code §
18
            1785.16 of the CCRAA:
19
                    (a) If the completeness or accuracy of any item of
20                  information contained in his or her file is disputed by a
21                  consumer, and the dispute is conveyed directly to the
                    consumer credit reporting agency by the consumer or user
22                  on behalf of the consumer, the consumer credit reporting
23                  agency shall within a reasonable period of time and without
                    charge, reinvestigate and record the current status of the
24                  disputed information before the end of the 30-business-day
25                  period beginning on the date the agency receives notice of
                    the dispute from the consumer or user, unless the consumer
26                  credit reporting agency has reasonable grounds to believe
27                  and determines that the dispute by the consumer is frivolous
                    or irrelevant, including by reason of a failure of the
28                  consumer to provide sufficient information, as requested by
                                                 9
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1                   the consumer credit reporting agency, to investigate the
                    dispute. Unless the consumer credit reporting agency
2
                    determines that the dispute is frivolous or irrelevant, before
3                   the end of the five-business-day period beginning on the
                    date the consumer credit reporting agency receives notice of
4
                    dispute under this section, the agency shall notify any person
5                   who provided information in dispute at the address and in
                    the manner specified by the person. A consumer credit
6
                    reporting agency may require that disputes by consumers be
7                   in writing.
                    (b) In conducting that reinvestigation the consumer credit
8
                    reporting agency shall review and consider all relevant
9                   information submitted by the consumer with respect to the
10                  disputed item of information. If the consumer credit
                    reporting agency determines that the dispute is frivolous or
11                  irrelevant, it shall notify the consumer by mail or, if
12                  authorized by the consumer for that purpose, by any other
                    means available to the consumer credit reporting agency,
13                  within five business days after that determination is made
14                  that it is terminating its reinvestigation of the item of
                    information. In this notification, the consumer credit
15                  reporting agency shall state the specific reasons why it has
16                  determined that the consumer's dispute is frivolous or
                    irrelevant. If the disputed item of information is found to be
17                  inaccurate, missing, or can no longer be verified by the
18                  evidence submitted, the consumer credit reporting agency
                    shall promptly add, correct, or delete that information from
19                  the consumer's file.
20
     34.    At all times during the aforementioned actions, there was in full force and effect
21
            the following obligations pertaining to Defendants, pursuant to Cal. Civ. Code §
22
            1785.25(a):
23
                    A person shall not furnish information on a specific
24                  transaction or experience to any consumer credit reporting
25                  agency if the person knows or should know the information
                    is incomplete or inaccurate.
26
27   35.    At all times during the aforementioned actions, there was in full force and effect

28          the following obligations pertaining to Defendants, pursuant to Cal. Civ. Code §

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1           1785.25(b):
2                   A furnisher that determines a report to a credit reporting
                    agency is not accurate or complete shall promptly notify the
3
                    consumer reporting agency of that determination and
4                   provide corrections to the consumer reporting agency that is
                    necessary to make the information complete and accurate.
5
6    36.    At all times during the aforementioned actions, there was in full force and effect
7           the following obligations pertaining to Defendants, pursuant to Cal. Civ. Code §
8           1785.25(c):
9                   So long as the completeness or accuracy of any information
                    on a specific transaction or experience provided to a
10
                    consumer reporting agency is disputed by the consumer, the
11                  furnisher may not continue reporting the information unless
                    it provides a notice to the consumer reporting agency that
12
                    the information is disputed by the consumer.
13
14           EQUIFAX FAILED TO DISCLOSE THE TRUE SOURCE OF THE PUBLIC RECORDS

15                   INFORMATION IT GATHERED AND REPORTED ABOUT PLAINTIFF

16   37.    Equifax is a FCRA-governed "consumer reporting agency" that selectively

17          decides which information to provide to consumers that request the FCRA-

18          governed information in the Equifax's possession and which information it will

19          hide from consumers. It withholds certain information in order to minimize

20          their compliance costs and to avoid customer service inquiries directed at them

21          and their business partners. These business partners include LexisNexis, a third

22          party that sells public record information to Equifax and then, in turn, processes

23          disputes regarding that public record information via the "ACDV" system.

24   38.    Equifax systemically misrepresents to consumers the source of the public record

25          information that it places on their consumer reports, in violation of 15 U.S.C. §

26          168lg(a)(2).     Equifax thus deprives consumers of valuable congressionally-

27          mandated information and makes it more difficult for consumers, such as

28          Plaintiff, to correct errors relating to these public records that are caused by

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1           Equifax and/or its private vendor sources that Equifax often misidentifies as its
2           "source".
3    39.    Equifax never identified LexisNexis as the source of the bankruptcy public
4           record information that made its way into Plaintiff’s credit file that it sells, or
5           any of the other less publicized marketing or risk assessment databases that
6           Equifax maintains.    Equifax identifies the source of the information as the
7           bankruptcy court which is incorrect.      Equifax has not obtained information
8           directly from courts for over 20 (twenty) years.
9    40.    The FCRA unambiguously requires credit-reporting agencies, such as Equifax,
10          to "clearly and accurately disclose to the consumer" who requests his or
11          her credit file "the sources" that supplied any "information" to the credit-
12          reporting agency about that consumer pursuant to 15 U.S.C. § 1681g(a)(2).
13                                      CAUSE OF ACTION
                                  FAIR CREDIT REPORTING ACT
14
                                     15 U.S.C. § 1681 ET SEQ.
15                                  (AS TO ALL DEFENDANTS)
16
     41.    Plaintiff realleges and incorporates the above paragraphs as though fully set
17
            forth herein.
18
     42.    The foregoing acts and omissions constitute numerous and multiple violations of
19
            the FCRA.
20
     43.    Equifax, as a credit reporting agency, is required to comply with 15 U.S.C. §§
21
            1681i(a)(1)(A)&(a)(5)(A), 1681e(a)&(b), and 1681g(a)(2) of the FCRA.
22
     44.    Equifax violated 15 U.S.C. §§ 1681i(a)(1)(A)&(a)(5)(A) of the FCRA after
23
            Plaintiff lodged a written dispute with it in July 2016 by failing to conduct
24
            reasonable a investigation into the accuracy of the information being disputed by
25
            Plaintiff, failing to correct or delete the information, failing to consider all
26
            relevant information supplied by Plaintiff in his dispute and failing to employ
27
            and follow reasonable procedures to prevent such inaccurate reporting.
28

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1    45.    Equifax violated 15 U.S.C. §§ 1681e(a)&(b) of the FCRA by maintaining the
2           inaccurate information that Plaintiff disputed.
3    46.    Equifax violated 15 U.S.C. § 1681g(a)(2) by failing to clearly and accurately
4           disclose to Plaintiff the source that supplied any information to the credit-
5           reporting agency about Plaintiff.
6    47.    Capital One and Kohl’s, as furnishers of information, are required to comply
7           with 15 U.S.C. § 1681s-2.
8    48.    Capital One and Kohl’s furnished information relating to a consumer to a
9           consumer reporting agency with knowledge or reasonable cause to believe that
10          the information was inaccurate in violation of 15 U.S.C. § 1681s-2(a)(1)(A) of
11          the FCRA.
12   49.    Capital One and Kohl’s did not promptly notify the consumer reporting agency
13          that the information saying Plaintiff was deceased was inaccurate in violation of
14          15 U.S.C. § 1681s-2(a)(2)(A)&(B) of the FCRA.
15   50.    Capital One and Kohl’s violated the FCRA by engaging in the following
16          conduct that violated 15 U.S.C. §1681s-2(b):
17                  a. Willfully continuing to furnish and disseminate inaccurate and
18          derogatory credit, account and other information concerning the Plaintiff to
19          credit reporting agencies and other entities despite knowing that said
20          information was inaccurate; and,
21                  b. Willfully failing to comply with the requirements imposed on
22          furnishers of information pursuant to 15 U.S.C. §1681s-2.
23   51.    Plaintiff is informed and believes that Capital One and Kohl’s failed to conduct
24          a reasonable investigation into Plaintiff’s written dispute, failed to correct or
25          delete the inaccurate information, failed to consider all relevant information
26          supplied by Plaintiff in his dispute, and failed to employ and follow reasonable
27          procedures to prevent such inaccurate reporting, as required by 15 U.S.C. §
28          1681s-2(b)(1)(A)-(E) because as of July 2016, Plaintiff’s Equifax credit report

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1           still reflects the inaccurate information that was the subject of the Dispute.
2    52.    Capital One and Kohl’s failed to update the derogatory items with the notation
3           that the items are “in dispute” as required by 15 U.S.C. § 1681s-2(b)(1)(A) and
4           Gorman v. Wolpoff & Abramson, LLP (9th Cir. 2009) 584 F.3d 1147, 1163-
5           1164, after his dispute months ago.
6    53.    As a result of each and every negligent violation of the FCRA, Plaintiff is
7           entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1) and reasonable
8           attorney fees and costs from each Defendant pursuant to 15 U.S.C. §
9           1681o(a)(2).
10   54.    As a result of each and every willful violation of the FCRA, Plaintiff is entitled
11          to actual damages and statutory damages of $1,000.00 for each violation from
12          each defendant pursuant to 15 U.S.C. § 1681n(a)(1)(A); punitive damages as the
13          court may allow, pursuant to 15 U.S.C. § 1681n(a)(2); and reasonable attorney
14          fees and costs pursuant to 15 U.S.C. § 1681n(a)(3).
15                                      CAUSE OF ACTION
                             CONSUMER CREDIT REPORTING AGENCIES ACT
16
                                    CAL. CIV. CODE § 1785.16
17                                      (AS TO EQUIFAX)
18
     55.    Plaintiff realleges and incorporates the above paragraphs as though fully set
19
            forth herein.
20
     56.    As a credit reporting agency, Equifax is required to comply with Cal. Civ. Code
21
            § 1785.16(a)-(b) of the CCRAA.
22
     57.    Plaintiff is informed and believes that Equifax violated Cal. Civ. Code §
23
            1785.16(a)-(b) of the CCRAA after it lodged the written dispute with it in July
24
            of 2016 by failing to conduct reasonable investigations into the accuracy of the
25
            information being disputed by Plaintiff, failing to correct or delete the
26
            information, failing to consider all relevant information supplied by Plaintiff in
27
            their disputes, failing to employ and follow reasonable procedures to prevent
28
            such inaccurate reporting and maintaining the very inaccurate information about
                                                  14
     Complaint for Damages
Case 3:16-cv-02987-BEN-WVG Document 1 Filed 12/08/16 PageID.15 Page 15 of 19



1           which Plaintiff complained.
2    58.    Based on these violations of Civil Code § 1785.25, Plaintiff is entitled to the
3           remedies afforded by Civil Code § 1785.31 including statutory damages of
4           $5,000.00 for each violation in each report, actual damages, attorney's fees and
5           injunctive relief.
6                                     THIRD CAUSE OF ACTION
                             CONSUMER CREDIT REPORTING AGENCIES ACT
7
                                     CAL. CIV. CODE § 1785.25
8                                (AS TO CAPITAL ONE AND KOHL’S)
9
     59.    Plaintiff realleges and incorporates the above paragraphs as though fully set
10
            forth herein.
11
     60.    As a furnisher of information, Capital One and Kohl’s are required to comply
12
            with Cal. Civ. Code § 1785.25.
13
     61.    Capital One and Kohl’s furnished information on a specific transaction or
14
            experience to a consumer credit reporting agency where Capital One and Kohl’s
15
            knew or should have known the information is incomplete or inaccurate in
16
            violation of Cal. Civ. Code § 1785.25(a).
17
     62.    Capital One and Kohl’s determination that the incorrect information they
18
            furnished to Equifax was accurate or complete constitutes a violation of Cal.
19
            Civ. Code § 1785.25(b).
20
     63.    Plaintiff disputed the accuracy of information on his credit report provided to
21
            Equifax, however, Capital One and Kohl’s continued reporting the information
22
            to Equifax following the July 2016 Dispute in violation of Cal. Civ. Code §
23
            1785.25(c).
24
     64.    Capital One and Kohl’s willfully furnished information to a credit reporting
25
            agency that Capital One and Kohl’s knew or should have known was inaccurate.
26
     65.    Based on these violations of Civil Code § 1785.25, Plaintiff is entitled to the
27
            remedies afforded by Civil Code § 1785.31 including statutory damages of
28

                                                15
     Complaint for Damages
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1           $5,000.00 from each Defendant for each month of inaccurate reporting, actual
2           damages, attorney's fees and injunctive relief.
3                                 FOURTH CAUSE OF ACTION
                       ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
4
                                CAL. CIV. CODE §1788 ET SEQ.
5                             (AS TO CAPITAL ONE AND KOHL’S)
6
     66.    Plaintiff realleges and incorporates the above paragraphs as though fully set
7
            forth herein.
8
     67.    The RFDCPA, Cal. Civ. Code § 1788 et seq, prohibits unfair and deceptive acts
9
            and practices in the collection of consumer debts.
10
     68.    Capital One and Kohl’s attempted to collect the debt and, as such, engaged in
11
            “debt collection” as defined by Cal. Civ. Code § 1788.2(b).
12
     69.    Capital One and Kohl’s often times engage in debt collection and are “debt
13
            collectors” as defined by Cal. Civ. Code § 1788.2(c)
14
     70.    Capital One and Kohl’s use false, deceptive, or misleading representation or
15
            means in connection with the collection of a debt in violation of 15 U.S.C. §§
16
            1692e as required by Cal. Civ. Code § 1788.17.
17
     71.    As a direct proximate result of Defendants’ conduct, Plaintiff suffered actual
18
            damages and other harm, thereby entitling him to seek statutory damages in the
19
            amount of $1,000.00, actual damages and reasonable attorney fees and costs
20
            from each Defendant under Cal. Civ. Code §1788.30.
21
                                       PRAYER FOR RELIEF
22
            Wherefore, Plaintiff respectfully requests the Court grant Plaintiff the following
23
     relief against Defendants:
24
                                    VIOLATIONS OF THE FCRA
25
                                    (FROM ALL DEFENDANTS)
26
     72.    Actual damages pursuant to 15 U.S.C. § 1681o(a)(1);
27
     73.    Statutory damages of $1,000.00 per violation pursuant to 15 U.S.C. §
28

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     Complaint for Damages
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1           1681n(a)(1);
2    74.    Such punitive damages as the court may allow pursuant to 15 U.S.C. §
3           1681n(a)(2);
4    75.    Injunctive relief to command Defendants to correct the information furnished on
5           Plaintiff’s credit reports and prohibit Defendants from engaging in future
6           violations;
7    76.    Attorney fees and costs to maintain the instant action, pursuant to 15 U.S.C. §§
8           1681n(a)(3) and 1681o(a)(2);
9    77.    Any other relief the Court may deem just and proper including interest.
10                                 VIOLATIONS OF THE CCRAA
                                    (FROM ALL DEFENDANTS)
11
12   78.    Actual     damages   pursuant   to   Cal.   Civ.   Code   §   1785.31(a)(1)   and
13          1785.31(a)(2)(A);
14   79.    Statutory damages of $5,000.00 per violation pursuant to Cal. Civ. Code §
15          1785.31(a)(2)(B);
16   80.    Injunctive relief to command Defendants to correct Plaintiff’s credit reports and
17          prohibit Defendants from engaging in future violations of Cal. Civ. Code §
18          1785.16 and Cal. Civ. Code § 1785.25, pursuant to Cal. Civ. Code § 1785.31(b);
19   81.    Attorney fees and costs to maintain the instant action, pursuant to Cal. Civ. Code
20          1785.31(a)(1) and Cal. Civ. Code § 1785.31(d);
21   82.    Any other relief the Court may deem just and proper including interest.
22                                 VIOLATIONS OF THE RFDCPA
                                 (FROM CAPITAL ONE AND KOHL’S)
23
24   83.    Actual damages pursuant to Cal. Civ. Code § 1788.30(a) and Cal. Civ. Code §
25          1788.32;
26   84.    Statutory damages of $1,000.00 each from Capital One and Kohl’s for violation
27          of Cal. Civ. Code § 1788, et seq pursuant to Cal. Civ. Code § 1788.30(b) and
28          Cal. Civ. Code § 1788.32.

                                                 17
     Complaint for Damages
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1    85.    Attorney fees and costs pursuant to Cal. Civ. Code § 1788.30(c) and Cal. Civ.
2           Code § 1788.32;
3    86.    Interest, punitive damages and any other relief the Court deems just and proper.
4                                         TRIAL BY JURY
5
            Pursuant to the seventh amendment to the Constitution of the United States of
6
     America, Plaintiff is entitled to, and demand, a trial by jury on all counts so triable.
7
8
     Date: December 8, 2016                  LAW OFFICE OF DANIEL G. SHAY
9
                                             By: s/ Daniel G. Shay
10
                                             Daniel G. Shay, Esq.
11                                           DanielShay@TCPAFDCPA.com
                                             409 Camino Del Rio South, Ste 101B
12
                                             San Diego, CA 92108
13                                           Telephone: (619) 222-7429
                                             Facsimile: (866) 431-3292
14
15                                           Attorney for Plaintiff
16                                           David Schroeder

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     Complaint for Damages
                Case 3:16-cv-02987-BEN-WVG Document 1 Filed 12/08/16 PageID.19 Page 19 of 19
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
DAVID SCHROEDER                                                                                           EQUIFAX INFORMATION SERVICES, LLC, CAPITAL ONE, N.A. &
                                                                                                          KOHL’S DEPARTMENT STORES, INC.
    (b)&RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII         San Diego, CA                               &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
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                                                                                                               
    (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Law Office of Daniel G. Shay - 619-222-7429
409 Camino Del Rio South, Ste 101B                                                                                                           '16CV2987 BEN WVG
San Diego, CA 92108

II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                           and One Box for Defendant)
u  86*RYHUQPHQW                 u  )HGHUDO4XHVWLRQ                                                                     PTF           DEF                                          PTF      DEF
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IV. NATURE OF SUIT(Place an “X” in One Box Only)
           CONTRACT                                            TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
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                                         15 U.S.C. §§ 1681 et seq; 15 U.S.C. § 1692 et seq
VI. CAUSE OF ACTION                      %ULHIGHVFULSWLRQRIFDXVH
                                         Violations of credit reporting and fair debt collection statutes.
VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                               DEMAND $                                     &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
     COMPLAINT:          81'(558/()5&Y3                                                                                                  JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
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12/08/2016                                                            s/ Daniel G. Shay, Esq.
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